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STATE OF SOUTH CAROLINA                                  )   IN THE COURT OF COMMON PLEAS
COUNTY OF COLLETON                                       )
                                                         )         Civil Action No.: 2020-CP-15 -
Sandra Williamson,                                       )
                                                         )
                                 Plaintiff,              )                  SUMMONS
                                                         )            (Jury Trial Demanded)
vs.                                                      )
                                                         )
WAL-MART STORES EAST, L.P. and                           )
CHRISTOPHER DODSON, Store Manager,                       )
                                                         )
                                 Defendants.             )
                                                         )

TO:     THE ABOVE-NAMED DEFENDANTS AND DEFENDANTS' ATTORNEY:
        YOU MAY PLEASE TAKE NOTICE that you are hereby summoned and required to answer the

Complaint in this action, of which a copy is herewith served upon you, and to serve a copy of your Answer on

the attorney for the Plaintiff listed below at his office at Post Office Box 6787, Columbia, South Carolina,

29260, within thirty (30) days after service hereof excluding the date of such service. IF YOU FAIL TO

ANSWER THE COMPLAINT WITHIN THE TIME AFORESAID, PLAINTIFFS WILL APPLY TO THE

COURT FOR A JUDGEMENT BY DEFAULT FOR THE RELIEF DEMANDED IN THE COMPLAINT

AND ANY OTHER RELIEF DEEMED APPROPRIATE.

                                                 Respectfully submitted,


                                                 s/ Stephen Suggs ___________________
                                                 Stephen Suggs (Bar #0016970)
                                                 STEWART LAW OFFICES, LLC
                                                 Attorney for the Plaintiff
                                                 Post Office Box 6787
                                                 Columbia, SC 29260
                                                 ssuggs@stewartlawoffices.net
                                                 (803) 743-4200 - Telephone
                                                 (803) 743-4204 – Facsimile

October 20, 2020
Columbia, South Carolina




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STATE OF SOUTH CAROLINA                                   )   IN THE COURT OF COMMON PLEAS
COUNTY OF COLLETON                                        )
                                                          )      Civil Action No.: 2020-CP-15 -
Sandra Williamson,                                        )
                                                          )
                                Plaintiff,                )             COMPLAINT
                                                          )         (Jury Trial Demanded)
vs.                                                       )
                                                          )
WAL-MART STORES EAST, L.P. and                            )
CHRISTOPHER DODSON, Store Manager,                        )
                                                          )
                                Defendants.               )
                                                          )

TO:     THE ABOVE-NAMED DEFENDANTS AND DEFENDANTS' ATTORNEY:
        Now comes Plaintiff, by and through counsel, and respectfully shows unto this Court that:

                                  JURISDICTION AND VENUE

        1.       Plaintiff, Sandra Williamson, is a citizen and resident of Colleton County, South

Carolina.

        2.       Upon information and belief, Wal-Mart Stores East, L.P., (“Wal-Mart”) was at all times

relevant to this complaint an Arkansas based corporation licensed to do business in the State of South

Carolina engaged in the business of selling consumer goods and providing various customer services.

Defendant Wal-Mart is vicariously liable for the negligence of its employees, agents and/or servants.

        3.       Upon information and belief, at the time of the accident that is the subject of this

lawsuit, Defendant Christopher Dodson was the manager of the Wal-Mart Store number 1358 in

Walterboro, South Carolina.

        3.       The parties to this action and the acts and omissions complained of herein are subject

to the jurisdiction of this Court, and venue is proper.

                                    FACTUAL ALLEGATIONS

        4.       On July 1, 2019, Plaintiff was a business invitee on Defendants’ premises located at

2110 Bells Hwy, Walterboro, SC 29488.

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        5.       As Plaintiff was walking down the frozen food aisle in Defendants’ store, she slipped

and fell on a clear liquid that appeared to be dripping from the freezers. She hit the floor and a Wal-

Mart employee pulled her up by the arm. She asked the employee about the amount of water and he

indicated that he had been planning to clean it up. Upon information and belief, Defendants had actual

or constructive notice of the condition prior to the incident. However, Defendants failed to clean up

the spill, remediate the apparent leak causing the spill or post any warning signs.

        6.       As a result of the incident, Plaintiff sustained serious injuries to her back and her right

arm and wrist, which has caused him to suffer and endure considerable pain and discomfort. Plaintiff

has been compelled to expend significant sums of monies for medical treatments and for the services

of medical providers under whose care she has been and under whose care, she may, upon information

and belief, be compelled to be in the future and he may, upon information and belief, also be

compelled to expend additional monies for further medical and doctor’s treatment required in the

future. Plaintiff has and she may continue to be prevented from attending to her ordinary affairs and

duties, she has, upon information and belief, been and may continue to be deprived of the enjoyments

of life she otherwise would have: and she, upon information and belief, may continue to endure

discomforting pain and suffering which she otherwise would not have, and she has been otherwise

injured and damaged. Plaintiff has incurred personal injury, pain, suffering, loss of enjoyment of life,

and impairment of health and bodily efficiency as a result of this incident.

                                FOR A FIRST CAUSE OF ACTION

                                    (Negligence and Recklessness)

        7.       Plaintiff incorporates by reference, as if fully set forth, each and every allegation in the

preceding paragraphs.

        8.       Defendant, its employees, servants and/or agents were negligent, careless, reckless,

grossly negligent, willful and wanton in the following particulars:


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                 a.      In failing to maintain adequately safe conditions on its premises;

                 b.      In failing to protect Plaintiff from safety hazards;

                 c.      In failing to take remedial action to eliminate the safety hazard;

                 d.      In failing to install adequate protections in and around the area in which the

                         Plaintiff was injured;

                 e.      In failing to post appropriate warnings regarding the condition of the premises;

                 f.      In failing to follow established safety procedures, or alternatively, in failing to

                         have safety procedures; and

                 g.      In such other and further particulars as may be ascertained during the course

                         of discovery or trial of this case.

        9.       The negligence of Defendants directly and proximately caused the injuries and

damages suffered by Plaintiff. Defendant Wal-Mart is vicariously liable for the negligence of its

employees, agents and/or servants.

                              FOR A SECOND CAUSE OF ACTION

                      (Negligent Hiring, Training, Supervision and Retention)

        10.      Plaintiff incorporates by reference, as if fully set forth, each and every allegation in the

preceding paragraphs.

        11.      Plaintiff is informed and believes that Defendants were negligent, careless, reckless,

wanton, and grossly negligent at the time and place hereinabove mentioned in the following

particulars:

                 a.      In failing to have in place policies and procedures to train, supervise and/or

                         retain its employees, or if any such procedures were in place, to enforce them;

                 b.      In failing to have in place adequate policies and procedures to mandate

                         compliance by its employees with policies, procedures, and standards related



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                       to the safety of its customers and maintenance of its store and if such

                       procedures were in place, in failing to enforce them;

               c.      In failing to ensure that its employees had the proper training and experience

                       to be able to provide for the safety of the subject store and customers of the

                       Defendants; and

               d.      In generally failing to use the degree of care and caution that a reasonably

                       prudent entity would have used under the same or similar circumstances.

       12.     That because of the acts and/or omissions of Defendants as enumerated hereinabove

which resulted both proximately and directly in the damages also set out above, the Plaintiff seeks

actual damages against the Defendants as well as punitive damages.

       13. Plaintiff demands that all causes of action that may be tried before a jury be so tried.

       WHEREFORE, Plaintiff prays for judgment against Defendants for actual and punitive

damages, pre- and post-judgment interest, the cost of this action, and for such other relief as this

Honorable Court may deem just and proper.

                                                       Respectfully Submitted,

                                                       STEWART LAW OFFICES, LLC


                                                       s/Stephen R. Suggs
                                                       Stephen R. Suggs, (S.C. Bar # 016970)
                                                       ssuggs@stewartlawoffices.net
                                                       Post Office Box 6787
                                                       Columbia, South Carolina 29260
                                                       803–743–4200 phone
                                                       803–743–4204 fax
                                                       Attorney for Plaintiff

Columbia, South Carolina
October 20, 2020




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